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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division



ePLUS INC.,                                   )
                                              )
               Plaintiff,                     )   Civil Action No. 3:09-CV-620 (REP)
                                              )
               v.                             )
                                              )
LAWSON SOFTWARE, INC.,                        )
                                              )
                                              )
                                              )
               Defendant.                     )



                                     [PROPOSED] ORDER

       This matter comes before the Court on Plaintiff ePlus, Inc.’s (“ePlus”) motion in limine to

exclude certain evidence at trial.

       Upon due consideration by the Court, and for the reasons set forth in ePlus’s Brief in

support of its Motion in Limine No. 8 to preclude Defendant Lawson Software, Inc. (“Lawson”)

from proffering any evidence, expert opinion, other testimony, or argument that is inconsistent

with this Court’s Markman Claim Construction Order of April 30, 2010, ePlus’s motion is

hereby GRANTED.

       The Court ORDERS that Lawson shall not proffer any evidence, expert opinion, other

testimony, or argument which is inconsistent with the Court’s Markman Claim Construction

Order of April 30, 2010.

       The Clerk is directed to send a copy of this Order to all parties of record.
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       It is SO ORDERED.


                                           ____________________________________
                                                  United States District Judge
Entered this     day of           , 2010




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